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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                 Plaintiff,                            4:14-CR-3048

vs.
                                                TENTATIVE FINDINGS
LEVI SANDERSON,

                 Defendant.

       The Court has received the presentence investigation report (PSR) in
this case. The defendant has filed an objection to the PSR. Filing 66.

      IT IS ORDERED:

1.    The Court will consult and follow the Federal Sentencing Guidelines to
      the extent permitted and required by United States v. Booker, 543 U.S.
      220 (2005), and subsequent cases. In this regard, the Court gives notice
      that, unless otherwise ordered, it will:

      (a)   give the advisory Guidelines respectful consideration within the
            context of each individual case and will filter the Guidelines'
            advice through the 18 U.S.C. § 3553(a) factors, but will not afford
            the Guidelines any particular or "substantial" weight;

      (b)   resolve all factual disputes relevant to sentencing by the greater
            weight of the evidence and without the aid of a jury;

      (c)   impose upon the United States the burden of proof on all
            Guidelines enhancements;

      (d)   impose upon the defendant the burden of proof on all Guidelines
            mitigators;

      (e)   depart from the advisory Guidelines, if appropriate, using pre-
            Booker departure theory; and
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     (f)   in cases where a departure using pre-Booker departure theory is
           not warranted, deviate or vary from the Guidelines when there is
           a principled reason justifying a sentence different than that
           called for by application of the advisory Guidelines, again without
           affording the Guidelines any particular or "substantial" weight.

2.   The defendant has filed an objection to the PSR. Filing 66. He argues
     that he was a minor participant in the offense, such that he should
     receive a two-level downward adjustment under U.S.S.G. § 3B1.2(b),
     and he objects to the probation officer's finding to the contrary. PSR ¶¶
     50, 55 & p. 22. It is the defendant's burden to establish that a minor-
     participant reduction is warranted. United States v. Gayekpar, 678 F.3d
     629, 639 (8th Cir. 2012). The propriety of such an adjustment is
     determined by comparing the acts of each participant in relation to the
     relevant conduct for which the participant is held accountable and by
     measuring each participant's individual acts and relative culpability
     against the elements of the offense. United States v. Rodriguez-Ramos,
     663 F.3d 356, 366 (8th Cir. 2011).

     The Court tentatively finds that the probation officer was correct, and
     that the defendant is not entitled to a downward adjustment for his
     role in the offense. The defendant asserts that his role was limited to
     procuring pseudoephedrine, and points to the fact that it was his
     associates who actually knew how to make methamphetamine, and
     who actually attempted to make it. But the present offense was not
     complex or far-reaching in its scope: a handful of people agreed to make
     methamphetamine using a crude and dangerous "shake-and-bake"
     method. In the process, Sanderson's co-defendant suffered severe
     burns. Given the limited nature of the overall offense, the defendant's
     role was not minor. The defendant procured an essential ingredient,
     was aware that it was going to be used to make methamphetamine, and
     was present during the process when his co-defendant was injured. The
     Court's tentative finding is that the defendant has failed to show that
     his role was minor in comparison with the other participants' conduct
     and by comparison with the offense for which he was held accountable.

3.   Except to the extent, if any, that the Court has sustained an objection,
     granted a motion, or reserved an issue for later resolution in the
     preceding paragraph, the parties are notified that the Court's tentative
     findings are that the presentence report is correct in all respects.



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4.   If any party wishes to challenge these tentative findings, that party
     shall, as soon as possible (but in any event no later than three (3)
     business days before sentencing) file with the Court and serve upon
     opposing counsel an objection challenging these tentative findings,
     supported by a brief as to the law and such evidentiary materials as are
     required, giving due regard to the local rules of practice governing the
     submission of evidentiary materials. If an evidentiary hearing is
     requested, such filings should include a statement describing why a
     hearing is necessary and how long such a hearing would take.

5.   Absent timely submission of the information required by the preceding
     paragraph, the Court's tentative findings may become final and the
     presentence report may be relied upon by the Court without more.

6.   Unless otherwise ordered, any objection challenging these tentative
     findings shall be resolved at sentencing.

     Dated this 7th day of January, 2015.

                                          BY THE COURT:



                                          John M. Gerrard
                                          United States District Judge




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